3:16-cv-03332-JES # 48   Page 1 of 23                                    E-FILED
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                                                    Clerk, U.S. District Court, ILCD
3:16-cv-03332-JES # 48   Page 2 of 23
3:16-cv-03332-JES # 48   Page 3 of 23
3:16-cv-03332-JES # 48   Page 4 of 23
3:16-cv-03332-JES # 48   Page 5 of 23
3:16-cv-03332-JES # 48   Page 6 of 23
3:16-cv-03332-JES # 48   Page 7 of 23
3:16-cv-03332-JES # 48   Page 8 of 23
3:16-cv-03332-JES # 48   Page 9 of 23
3:16-cv-03332-JES # 48   Page 10 of 23
3:16-cv-03332-JES # 48   Page 11 of 23
3:16-cv-03332-JES # 48   Page 12 of 23
3:16-cv-03332-JES # 48   Page 13 of 23
3:16-cv-03332-JES # 48   Page 14 of 23
3:16-cv-03332-JES # 48   Page 15 of 23
3:16-cv-03332-JES # 48   Page 16 of 23
3:16-cv-03332-JES # 48   Page 17 of 23
3:16-cv-03332-JES # 48   Page 18 of 23
3:16-cv-03332-JES # 48   Page 19 of 23
3:16-cv-03332-JES # 48   Page 20 of 23
3:16-cv-03332-JES # 48   Page 21 of 23
3:16-cv-03332-JES # 48   Page 22 of 23
3:16-cv-03332-JES # 48   Page 23 of 23
